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EXHIBIT C

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i\/|ay 4, 2017
Proponent Testimony: HB 2409
Senate Federal & State Affairs Committee

l\/ly name is l\/largie Robinow.

| have lived in Kansas for 21 years.

l am a |\/iom ot five, grandma of two.

l have Worl<ed for 30 years helping people solve their life problems as a psycho-
therapist.

Today, | left home and vvorl< and my life to come here to taii< to you about
something that may seem very far away, but l see as an important concern for
Kansans.

We are asking you to support legislation that vvi|l include Kansas in standing up to
this hate based economic initiative. The Boycott, Divest, and Sanction l\/iovernent

What it is:

BDS

in 200l , the movement clothed itself in a veneer of moral credibility by
adopting the language of human rights to faiser brand lsraei as a “racist,
apartheid state,” as declared by participants in the Non-Government
Organization Forum of the United Nations World Conference Against Racisrn in
Durban. instead of discussing racism, the conference spent its session bashing
israel. The US Wall<ed out on the meeting

T//ie Palesrim'an Call to Boycol‘t lsraei

|n 2005, the BDS movement Was energized and expanded by a declaration ofa
coalition of Palestinian organizations Their call accused israel of an
“entrenched system ot racial discrimination”, and “persistent violations of
international law” and called upon “people of conscience” to implement a broad
boycott and divestment campaign

This movement became a cry on university campuses in Europe and by
Acaclemic societies that sought to handicap the State of israel by painting a
false picture of discrimination

israel is a democracy. Ali citizens have voting rights

Without a stance against BDS, the hearts and minds are lost For the next
generation, along With the economic impact

Senate Fed and State Committee
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Attachment# 3

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What does this legislation do?

Businesses that contract With the State of Kansas must certify that they do not
engage in discrimination against |srael. Each business must include a letter saying
that they do not boycott lsrael.

Why should vve care about this in l<ansas? lsrael is pretty far away. l-lovvever,
l<ansas does about $83 million dollars in bilateral trade vvith lsrael, an
international leader in health sciences, sustainable agricultural Water technology
and other technologies israeli businesses employ hundreds ot l<ansans.
Co|laboration With israeli companies advances the technology of many l<ansas
based companies. All these things improve the lives ot l<ansans.

19 other states have approved versions of anti BDS legislation, including: AZ, CA,
NY, FL, |L, NJ, PA, Ni|, R|, CO, OH, lO,lN,AL,AR,GE,SC, lVlN and TX

Others considering this legislation this year are: Wl, l\/IA, l\/lD, DE, l\/iaine, i\lorth
Carolina, AK, l\/lontana, and South Dal<ota.

Some people have expressed concerns about first amendment issues.
This bill does not impede any first amendment rights. Businesses and owners may
criticize israel and speak out in support of the movement

Anti BDS legislation has enjoyed great bipartisan support across the United States.
This is a great opportunity for l<ansas unity and support of our great ally, lsrael.

l\!larjorie Robinovv
9132690920
margierobinovv@gmail.com

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What is BDS?

o Currently, there is a campaign by non-governmental organizations known as the
Boycott, Divestment and Sanctions l\/lovement (BDS), which promotes
activities intended to inflict financial harm on, or otherwise limit commercial relations
With israeli and i<ansas-based entities Efforts to inflict economic harm upon l<ansas'
trading partners weakens l<ansas’ ability to conduct business and harms the vital
economic and employment interests ofthe state.

¢ lVlore specifically, the BDS campaign is employed to discriminate against israelis, Jews,
their trade partners and supporters BDS constitutes commercial discrimination against
israel on the basis of national origin.

o This campaign is being waged against the worid's one and only jewish country -
attacking virtually every aspect of its historic, iegai, political, economic and cultural life -
with the aim of undermining the sovereignty, security and legitimacy of israei‘s very
existencel

v While no country is perfect, the constant condemnation and criticism israel endures
among the community of nations, and global governing bodies like the UN, is unique
israel remains a thriving democracy with free and open elections, a free press, and
freedom of religion. israel is also the Unitecl States’ closest ally in the i'viiddie East.

o Protecting l<ansas’ trade relationship with israel by supporting l-iB 2409 is imperative to
the ensuring the economic success ofthe state. lt is not only our trade that is important
to protect, as we have multiple companies from israel that have decided to make i<ansas
their home. The companies range in fieids but here are a couple of our biggest success
stories:

- TEVA Pharmaceuticais- Opened a 546 |Viiliion 156,000, Square foot
headquarters in Overiand Park in 2013. They’re world leaders in the
manufacturing of pharmaceuticals and innovators in Bioscience.

- iCI. Perforrnance Products- i.ocated in Lavvrence, iCL specializes in phosphate~
based engineering and production. iCL Performance Products makes products
that increase global food and water supplies and improves industrial materials
and processes

Piease support HB 2409:

Prohibiting state contracts with companies that ore engaged in an anti-
Israeli boycott

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